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 1 LAW OFFICES OF CHRIS COSCA
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 3 (916) 440-1010

 4 Attorney for Defendant
   RYAN CHEAL
 5
                                  IN THE UNITED STATES DISTRICT COURT
 6
                                     EASTERN DISTRICT OF CALIFORNIA
 7

 8
     UNITED STATES OF AMERICA,                            CASE NO. 2:12-CR-0185-TLN
 9
                                   Plaintiff,             STIPULATION AND ORDER TO VACATE
10                                                        HEARING, EXCLUDE TIME, AND SET FOR
                             v.                           CHANGE OF PLEA
11
     RYAN CHEAL,                                          DATE: June 15, 2017
12                                                        TIME: 9:30 a.m.
                                   Defendant.             COURT: Hon. Troy L. Nunley
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                                                  STIPULATION
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            1.       By previous order, this matter was set for a change of plea hearing on June 15, 2017.
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            2.       By this stipulation, defendant Ryan Cheal and the government now move to vacate the
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     hearing, set the matter for change of plea on July 27, 2017, and to exclude time between June 15, 2017
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     and July 27, 2017, under Local Code T4.
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            3.       The parties agree and stipulate, and request that the Court find the following:
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                     a)     Defense counsel requires further time to meet and confer with his client regarding
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            the plea agreement and all consequences related thereto.
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                     b)     Counsel for defendant believes that failure to grant the above-requested
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            continuance would deny counsel the reasonable time necessary for effective preparation, taking
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            into account the exercise of due diligence.
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                     c)     The government does not object to the continuance.
27
                     d)     Based on the above-stated findings, the ends of justice served by continuing the
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            case as requested outweigh the interest of the public and the defendant in a trial within the

      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]        1
      FINDINGS AND ORDER
                 Case 2:12-cr-00185-TLN Document 230 Filed 06/14/17 Page 2 of 3


 1          original date prescribed by the Speedy Trial Act.

 2                   e)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 3          et seq., within which trial must commence, the time period of June 15, 2017 to July 27, 2017,

 4          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

 5          because it results from a continuance granted by the Court at defendants’ request on the basis of

 6          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

 7          of the public and the defendant in a speedy trial.

 8          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 9 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

10 must commence.

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12          IT IS SO STIPULATED.

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     Dated: June 14, 2017                                      PHILLIP A. TALBERT
14                                                             Acting United States Attorney
15
                                                               /s/ Jason Hitt
16                                                             Jason Hitt
                                                               Assistant United States Attorney
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18
     Dated: June 14, 2017                                      /s/ Chris Cosca
19                                                             CHRIS COSCA
20                                                             Counsel for Defendant
                                                               Ryan Cheal
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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]         2
      FINDINGS AND ORDER
            Case 2:12-cr-00185-TLN Document 230 Filed 06/14/17 Page 3 of 3


 1                                                  ORDER

 2        IT IS SO FOUND AND ORDERED this 14th day of June, 2017.

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 6                                                  THE HONORABLE TROY L. NUNLEY
                                                    UNITED STATES DISTRICT JUDGE
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     STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]    3
     FINDINGS AND ORDER
